                               UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION

In re:                                                   Case No. 13-63026

BOBBIE J. FISHER, pro se,                                Chapter 7

            Debtor.                                      Judge Thomas J. Tucker
_________________________________/

DANIEL M. McDERMOTT,
UNITED STATES TRUSTEE,

                  Plaintiff,                             Adv. Pro. No. 14-4124

v.

BETTY TAYLOR, pro se,

            Defendant.
______________________________/

         OPINION AND ORDER DENYING THE DEFENDANT BETTY TAYLOR’S
                 APPLICATION TO PROCEED IN FORMA PAUPERIS

         This case is before the Court on the application by Defendant Betty Taylor to proceed in

forma pauperis under 28 U.S.C. § 1915(a) (the “Application”),1 on her appeal to the district

court2 of this Court’s order entitled “Order Permanently Enjoining Betty Taylor, Finding Her in

Contempt, and Imposing Certain Other Relief” (Docket # 57, the “Contempt Order”). The

Contempt Order, in relevant part, (1) found the Defendant “in civil contempt for her violation of

the Court’s September 10, 2014 order entitled ‘Order Granting in Part, and Denying in Part,

Plaintiff's Motion for Summary Judgment’ (Docket # 44[, the “Summary Judgment Order”]),”

which, in relevant part, ordered the Defendant to pay to the Debtor $2,000.00, based on her


         1
             See “Motion to Waive Filing Fee Informus Paupauris” (Docket # 65).
         2
             Docket # 62 (Notice of Appeal).



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violation of various provisions of 11 U.S.C. § 110; (2) again ordered the Defendant to pay the

Debtor $2,000.00 (this time in monthly $100.00 installments delivered to the Office of the

United States Trustee, “beginning on February 3, 2015 and continuing by the third day of each

month thereafter until the full amount of $2,000.00 is paid”); and (3) permanently enjoined the

Defendant from acting as a bankruptcy petition preparer.

       On appeal, the Defendant seeks reversal of the Contempt Order, based on her argument

that a document she mailed to the Debtor, which was not a negotiable instrument, satisfied the

payment requirement in the Summary Judgment Order, so that she is not in contempt of that

order. This, the Debtor says, is because “there is no lawful money” (i.e., there is no lawful

currency in the United States)(See Docket ## 74 at 2; Docket # 65).

       The Court will assume that a bankruptcy court has authority under 28 U.S.C. § 1915(a)(1)

to grant or deny this type of application to proceed in forma pauperis. The Court must deny the

Application, because the Court finds and concludes that the Defendant’s appeal is not taken in

good faith within the meaning of 28 U.S.C. § 1915(a)(3).

       In Michigan First Credit Union v. Smith (In re Smith), 499 B.R. 555, 556 (Bankr. E.D.

Mich. 2013), this Court explained:

               Section 28 U.S.C. § 1915(a)(3) provides: “An appeal may not be
               taken in forma pauperis if the trial court certifies in writing
               that it is not taken in good faith.” “The good faith standard
               [under 28 U.S.C. § 1915(a)(3) ] is an objective one.” Randolph
               v. Unnico Integrated Facilities Servs. Cargill, No. 10–2919–STA,
               2012 WL 1022264, at *3 (W.D.Tenn.2012) (citing Coppedge v.
               United States, 369 U.S. 438, 445, 82 S.Ct. 917, 8 L.Ed.2d 21
               (1962)); see also Falkner v. United States Government, No.
               13–2299–JDT–cgc, 2013 WL 2422633, at *1 (W.D.Tenn. June 3,
               2013) (discussing the good faith standard under Fed. R.App. P.
               24(a)(3), which provides that a party may not proceed on appeal in


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               forma pauperis if “the district court—before or after the notice of
               appeal is filed—certifies that the appeal is not taken in good faith”)
               (citation omitted). The “good faith” standard has been
               described variously as meaning that the appeal is not frivolous;
               or that it presents a substantial question. See Falkner, 2013 WL
               2422633, at *1 (“The test for whether an appeal is taken in good
               faith is whether the litigant seeks appellate review of any issue that
               is not frivolous.”) (citation omitted); Knittel v. I.R.S., 795
               F.Supp.2d 713, 721 (W.D.Tenn.2010) (same); Callihan v.
               Schneider, 178 F.3d 800, 803 (6th Cir.1999) (“After [the affidavit
               with the] required information has been filed, the district court
               must ascertain both the individual’s pauper status and the merits of
               the appeal.”); United States v. Merritt (In re Merritt), 186 B.R.
               924, 930 (Bankr.S.D.Ill.1995) (“The ‘good faith’ requirement is an
               objective one based on the legal merit of the issues sought to be
               appealed.”) (citations omitted); In re Meuli, 162 B.R. 327, 329
               (Bankr.D.Kan.1993) (“‘[B]efore permitting an appeal to be brought
               in forma pauperis, the court shall require a certification by the
               bankruptcy judge that the appeal is not frivolous and does present a
               substantial question.’”) (citation omitted).

Id. (bold added); see also Smith v. Michigan First Credit Union, Case No. 13-13030 (E.D. Mich.

August 13, 2013) (Edmunds, J.)(Docket # 6)(in this context, “good faith means “non-frivolous”).

        The Defendant’s appeal is based on her argument that “there is no lawful money” (i.e.,

that there is no lawful currency in the United States (see, e.g., Docket # 74 at 2)). This argument

is frivolous in the extreme. Therefore, the Court concludes that the Defendant’s appeal does not

meet the good faith requirement of 28 U.S.C. § 1915(a)(3).

        Accordingly,

        IT IS ORDERED that:

1.      The Application (Docket # 65) is denied.

2.      The Court certifies to the district court that under 28 U.S.C. § 1915(a), the Debtor’s

appeal of the Contempt Order is not taken in good faith.



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Signed on March 20, 2015                        /s/ Thomas J. Tucker
                                                Thomas J. Tucker
                                                United States Bankruptcy Judge




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